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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1696V
                                         UNPUBLISHED


    MARISOL TORRES-SANDLIN,                                   Chief Special Master Corcoran

                         Petitioner,                          Filed: December 17, 2019
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Damages Decision Based on Proffer;
    HUMAN SERVICES,                                           Influenza (Flu) Vaccine; Shoulder
                                                              Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


John Robert Howie, Howie Law, PC, Dallas, TX, for petitioner.

Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION AWARDING DAMAGES1

        On November 1, 2018, Marisol Torres-Sandlin filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related
to vaccine administration (“SIRVA”) after receiving an influenza vaccination on
November 3,3 2015. Petition at 1, ¶¶ 1, 40. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On October 18, 2019, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for her SIRVA. On December 17, 2019, Respondent filed a
1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).

3As Respondent notes in his proffer on award of compensation (“Proffer”), Petitioner refers to the date of
vaccination as November 2 and 3, 2015, but the vaccine record indicates the vaccination was
administered on November 3, 2015. Proffer at 1 n.1 (comparing the Petition at 1-2 and Exhibit 2 (record
of vaccination)).
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Proffer indicating Petitioner should be awarded $97,159.91, representing $95,000.00 in
compensation for Petitioner’s actual and projected pain and suffering4 and $2,159.91 in
compensation for Petitioner’s actual unreimbursable expenses. Proffer at 1-2. In the
Proffer, Respondent represented that Petitioner agrees with the proffered award. Id.
Based on the record as a whole, I find that Petitioner is entitled to an award as stated in
the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $97,159.91, representing $95,000.00 in compensation for
Petitioner’s actual and projected pain and suffering and $2,159.91 in
compensation for Petitioner’s actual unreimbursable expenses in the form of a
check payable to Petitioner. This amount represents compensation for all damages
that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.5

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




4The portion of this award attributable to Petitioner’s projected pain and suffering has been reduced to
net present value. See § 15(a)(4) (requiring this reduction).

5 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                   )
    MARISOL TORRES-SANDLIN,                        )
                                                   )
                 Petitioner,                       )
                                                   )    No. 18-1696V
    v.                                             )    Chief Special Master Corcoran
                                                   )    ECF
    SECRETARY OF HEALTH AND HUMAN                  )
    SERVICES,                                      )
                                                   )
                 Respondent.                       )
                                                   )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On November 1, 2018, Marisol Torres-Sandlin (“petitioner”) filed a petition for

compensation under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1

to -34 (“Vaccine Act” or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine

Administration (“SIRVA”) as a result of an influenza (“flu”) vaccine she received on November

2, 2015.1 Petition at 1, 11. On October 18, 2019, the Secretary of Health and Human Services

(“respondent”) filed a Rule 4(c) Report indicating that this case is appropriate for compensation

under the terms of the Act, and the Chief Special Master issued a Ruling on Entitlement finding

petitioner entitled to compensation the same day. ECF No. 21; ECF No. 22.

I.       Items of Compensation

         A.     Pain and Suffering

         Respondent proffers that Marisol Torres-Sandlin should be awarded $95,000.00 in actual

and projected pain and suffering. This amount reflects that the award for projected pain and



1
 The petition notes the date of vaccination alternately as November 2, and November 3, 2015.
Compare petition at 1 with petition at 2. The vaccine administration record indicates that
petitioner received the vaccine on November 3, 2015. Exhibit (“Ex.”) 2.
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suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.

          B.       Past Unreimbursable Expenses

          Evidence supplied by petitioner documents Marisol Torres-Sandlin’s expenditure of past

unreimbursable expenses related to her vaccine-related injury. Respondent proffers that

petitioner should be awarded past unreimbursable expenses in the amount of $2,159.91, as

provided under the Vaccine Act, 42 U.S.C. § 300aa-15(a)(1)(B). Petitioner agrees.

II.       Form of the Award

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to Marisol Torres-Sandlin should be

made through a lump sum payment as described below and requests that the Chief Special

Master’s decision and the Court’s judgment award the following2: a lump sum payment of

$97,159.91, representing compensation for pain and suffering ($95,000.00), and past

unreimbursable expenses ($2,159.91), in the form of a check payable to petitioner, Marisol

Torres-Sandlin.

III.      Summary of Recommended Payments Following Judgment

          Lump sum payable to petitioner, Marisol Torres-Sandlin:                     $97,159.91

                                                Respectfully submitted,

                                                JOSEPH H. HUNT
                                                Assistant Attorney General

                                                C. SALVATORE D’ALESSIO
                                                Acting Director
                                                Torts Branch, Civil Division


2
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                   2
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                                  CATHARINE E. REEVES
                                  Deputy Director
                                  Torts Branch, Civil Division

                                  ALEXIS B. BABCOCK
                                  Assistant Director
                                  Torts Branch, Civil Division

                                  s/ Sarah C. Duncan
                                  SARAH C. DUNCAN
                                  Trial Attorney
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DATED: December 17, 2019




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